                                                                           Case 1:03-md-01570-GBD-SN Document
                                                                                                         EXHIBIT B
                                                                                                                   9649-3 Filed 03/15/24 Page 1 of 1
                                                                                                                                                  ESTATES OF U.S. NATIONAL DECEDENTS ON 9/11/2001



                       Personal Representative                                               9/11 Decedent                                                                      Claim Information                                       Pain & Suffering Damages                                       Economic Damages




                                                                                                                      Nationality on
                                                                                                                                       Date of                                                           Amendments &                                                                  Date of




                                                                                                                          9/11
          First         Middle           Last    Suffix            First          Middle          Last       Suffix                              9/11 Site   Case               Complaint                                 Prior Award        Amount                Treble     Report              Prior Award       Amount             Treble
                                                                                                                                       Death                                                              Substitutions                                                                Report

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     1 Edward     C.               Williams               Manette                          Beckles                    US               9/11/01 NY             9903 1:15-cv-09903, 53, at 2647                              5975 at 4 $ 2,000,000.00 $ 6,000,000.00                      7/27/23                 $   7,505,360.00 $   22,516,080.00
     2 Jaymel     Elizabeth        Connor                 James             Lee            Connor                     US               9/11/01 NY             9903 1:15-cv-09903, 53, at 1420                                        $ 2,000,000.00 $ 6,000,000.00                                              $              - $              -
                                                                                                                                                                   1:15-cv-09903, 53, at 1061, 9622 at
     3 Susan      Lynne            Kinney                 Christopher       Seton          Cramer                     US               9/11/01 NY             9903 3                                                                     $ 2,000,000.00 $ 6,000,000.00                  7/31/23                 $ 12,682,568.00 $    38,047,704.00
     4 Lisa       T.               Dolan                  Robert            E.             Dolan         Jr.          US               9/11/01 VA             9903 1:15-cv-09903, 53, at 3104                                            $ 2,000,000.00 $ 6,000,000.00                                          $            - $                -
     5 Marion     Elaine           Donovan                Jacqueline                       Donovan                    US               9/11/01 NY             9903 1:15-cv-09903, 53, at 2488                                            $ 2,000,000.00 $ 6,000,000.00                                          $            - $                -
                                                                                                                                                                   1:15-cv-09903, 53, at 574, 280-1,
     6 Diane                       Egan                   Martin            Joseph         Egan          Jr.          US               9/11/01 NY             9903 288                                                                   $ 2,000,000.00 $ 6,000,000.00                   8/2/23                 $ 14,475,273.00 $    43,425,819.00
     7 Jessica    Katherine        Kostaris               Bruce             Henry          Gary                       US               9/11/01 NY             9903 1:15-cv-09903, 53, at 3483                                            $ 2,000,000.00 $ 6,000,000.00                                          $             - $               -
                                                                                                                                                                   1:15-cv-09903, 53, at 1001, 9622 at
     8 Susan      K.               Keasler                Karol             Ann            Keasler                    US               9/11/01 NY             9903 3                                                                     $ 2,000,000.00 $ 6,000,000.00                                          $             - $               -
     9 Irene                       Smolicz                Frank             J.             Koestner                   US               9/11/01 NY             9903 1:15-cv-09903, 53, at 2568                                            $ 2,000,000.00 $ 6,000,000.00                  1/13/20                 $ 12,315,189.00 $    36,945,567.00
    10 Kathleen                    Maloney                Joseph            Edward         Maloney                    US               9/11/01 NY             9903 1:15-cv-09903, 53, at 3340                                            $ 2,000,000.00 $ 6,000,000.00                  1/10/20                 $ 7,441,425.00 $     22,324,275.00
                                                                                                                                                                   1:15-cv-09903, 53, at 1794, 4778 at
    11 Karen                       Parro                  Robert                           Parro                      US               9/11/01 NY             9903 5                                                                 $ 2,000,000.00        $   6,000,000.00                                     $             - $               -
    12 Lynn       Ann              Pescherine             Michael           John           Pescherine                 US               9/11/01 NY             9903 1:15-cv-09903, 53, at 850                                         $ 2,000,000.00        $   6,000,000.00             11/1/23                 $ 27,997,471.00 $    83,992,413.00
    13 Harry      James            Powell                 Brandon           J.             Powell                     US               9/11/01 NY             9903 1:15-cv-09903, 53, at 3390                             5975 at 18 $ 2,000,000.00        $   6,000,000.00            10/17/23                 $ 8,650,847.00 $     25,952,541.00
    14 Ana        Maria            Tempesta               Anthony                          Tempesta                   US               9/11/01 NY             9903 1:15-cv-09903, 53, at 485                                         $ 2,000,000.00        $   6,000,000.00             5/26/23                 $ 10,835,243.00 $    32,505,729.00
    15 Kathleen   M.               Vigiano                Joseph            Vincent        Vigiano                    US               9/11/01 NY             9903 1:15-cv-09903, 53, at 463                                         $ 2,000,000.00        $   6,000,000.00             8/13/21                 $ 18,743,604.00 $    56,230,812.00
    16 Felicia    Ann              Young                  Donald            McArthur       Young                      US               9/11/01 VA             9903 1:15-cv-09903, 53, at 1168                             5975 at 23 $ 2,000,000.00        $   6,000,000.00             6/14/23                    $9,908,339.00 $   29,725,017.00




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